AO 106 (Rev. 0             Case
                   ) Application for a2:22-mj-00753           Document
                                       Search Warrant requesting         1 Miller
                                                                  ~) Michael Filed   05/09/22 Page 1 of 13


                                     UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District
                                                      __________        of Pennsylvania
                                                                  District  of __________

             In the Matter of the Search of                           )
         (Briefly describe the property to be searched                )
          or identify the person by name and address)                 )         Case No.
                                                                      )
                                                                      )
                                                                      )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):



located in the                                    District of                                , there is now concealed (identify the
person or describe the property to be seized):




          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  evidence of a crime;
                  contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                        Offense Description



          The application is based on these facts:



                 Continued on the attached sheet.
                 Delayed notice of       days (give exact ending date if more than 30 days:                          ) is requested
                 under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                            Applicant’s signature


                                                                                            Printed name and title

Sworn to before me and signed in my presence.
                                                                                                 Lynne A. Sitarski
                                                                                                 2022.05.09
                                                                                                 16:08:43 -04'00'
Date:
                                                                                              Judge’s signature

City and state:
                                                                                            Printed name and title
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                                                           Eastern District of Pennsylvania


             (Briefly describe the property to be searched
              or identify the person by name and address)




                                                  SEARCH AND SEIZURE WARRANT




(identify the person or describe the property to be searched and give its location)




                                                              (identify the person or describe the property to be seized)




          YOU ARE COMMANDED                                                                                                         (not to exceed 14 days)




                                             (check the appropriate box)
                             (not to exceed 30)


                                  May 9, 2022 at 3:58 p. m.
                                                                                                                    Judge’s signature



                                                                                                                 Printed name and title
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                         Return




                       Certification




                                         Executing officer’s signature


                                            Printed name and title
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH                        Magistrate No. 22-mj-753
CELLULAR PHONE ASSIGNED CALL
NUMBER (732) 484-7567, IMSI
310260034468188


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Richard Antonini, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain cellular telephone assigned call number (732) 484-7567,

with International Mobile Subscriber Identity 310260034468188 (“the Subject Phone”), that is

stored at premises controlled by, and is in the custody and control of, T-Mobile, a wireless

telephone service provider headquartered at 4 Sylvan Way, Parsippany, New Jersey. As a

provider of wireless communications services, T-Mobile is a provider of an electronic

communications service, as defined in 18 U.S.C. § 2510(15).

       2.      The information to be searched is described in the following paragraphs and in

Attachment A. This affidavit is made in support of an application for a search warrant under 18

U.S.C. § 2703(c)(1)(A) to require T-Mobile to disclose to the government copies of the

information further described in Section I of Attachment B. Upon receipt of the information

described in Section I of Attachment B, government-authorized persons will review the

information to locate items described in Section II of Attachment B.
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       3.      I am a Philadelphia Police Department (“PPD”) detective employed with the City

of Philadelphia since 1999. Currently, I am assigned with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”), and have been since 2017. I am a graduate of the

Philadelphia Police Academy and I have served in patrol, plainclothes, and narcotics

enforcement assignments. In 2008, I was promoted to the rank of detective where I investigated

numerous acts of violent crime and narcotics offenses. While a Philadelphia Police detective, I

was assigned within a Specialized Investigative Unit (“SIU”), which primarily focused on

violent crime investigations. I am currently assigned to a specialized enforcement group, the

ATF Group VI Violent Crimes and HIDTA Task Force, whose primary mission is to investigate

individuals and groups that are engaged in the commission of federal firearms, violent crime, and

narcotics violations. Group VI investigates street gangs and groups in or around Philadelphia,

Pennsylvania, including but not limited to their use of firearms during and in relation to the

distribution of controlled substances or a violent crime and their involvement in the illegal

trafficking of firearms.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       5.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of Title 18, United States Code, Sections 2119 (carjacking), 924(c)(1)(A)(ii) (using,

carrying, and brandishing a firearm during and in relation to a crime of violence), and 2 (aiding

and abetting) have been committed by Juan JOSE RODRIGUEZ. There is also probable cause
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to search the information described in Attachment A for evidence of these crimes as further

described in Attachment B.

        6.       The Court has jurisdiction to issue the proposed warrant because it is a “court of

competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the Court is a district court

of the United States that has jurisdiction over the offense being investigated. See 18 U.S.C. §

2711(3)(A)(i).

                                           PROBABLE CAUSE

        7.       On February 23, 2022, a grand jury indicted defendant Juan JOSE RODRIGUEZ

for violations of Title 18, United States Code, Sections 2119 (carjacking), 924(c)(1)(A)(ii)

(using, carrying, and brandishing a firearm during and in relation to a crime of violence), and 2

(aiding and abetting). The grand jury found that JOSE RODRIGUEZ and his co-defendant, Alex

Fernandez-Pena, used a shotgun to carjack a vehicle in Philadelphia, Pennsylvania, on January 3,

2022.

        8.       Following the indictment, agents served a subpoena on T-Mobile. The returns

from the subpoena show that Juan “Warrin Rodriguez” a/k/a JOSE RODRIGUEZ was the

subscriber for the Subject Phone at the time of the carjacking, and that T-Mobile provided

service for the Subject Phone. The returns also showed that RODRIGUEZ’s cellular phone has

IMEI/DEVICE number 990017692732643.

        9.       Approximately 35 minutes after the carjacking occurred, Philadelphia police

officers located RODRIGUEZ less than a mile away from the scene of the carjacking near 4344

Lancaster Avenue and placed RODRIGUEZ under arrest and transported to Presbyterian

Hospital. During the investigation into RODRIGUEZ, members of the (“PPD”) recovered a

cellular telephone with IMEI number 990017692732643 inscribed on the back of the phone,
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from Presbyterian hospital located at 51 N. 39TH Street. Additionally, a picture of the back of the

phone recovered by (“PPD”) was shown to RODRIGUEZ by ATF investigators during a proffer

session interview and he identified it as his phone. This phone was retained as evidence and

placed on (“PPD”) Form 75-3 (P.R #3560665).

       10.     Based on my training and experience, I know that people who commit carjackings

and robberies often use their cell phones during the commission of the crime. Cell phones can be

used by these individuals to communicate during the crime, for planning purposes before the

crime, and to flee after the crime has occurred. In this case, the foregoing paragraphs show that

Juan JOSE RODRIGUEZ possessed his cellular phone when he was arrested, and I believe the

cell site location data sought in this warrant application will provide further evidence of JOSE

RODRIGUEZ’s crimes by establishing confirmatory evidence that he was at the scene of the

crime. The data would also provide confirmatory evidence by showing whether JOSE

RODRIGUEZ departed for the carjacking from a location that he typically frequents.

       11.     Based on the training and experience of myself and other agents, I have learned

that T-Mobile is a company that provides cellular telephone access to the general public. I also

know that providers of cellular telephone service have technical capabilities that allow them to

collect and generate information about the locations of the cellular telephones to which they

provide service, including cell-site data, also known as “tower/face information” or “cell

tower/sector records.” Cell-site data identifies the “cell towers” (i.e., antenna towers covering

specific geographic areas) that received a radio signal from the cellular telephone and, in some

cases, the “sector” (i.e., faces of the towers) to which the telephone connected. These towers are

often a half-mile or more apart, even in urban areas, and can be 10 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve every call
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made to or from that device. Accordingly, cell-site data provides an approximate location of the

cellular telephone but is typically less precise than other types of location information, such as E-

911 Phase II data or Global Positioning Device (“GPS”) data.

       12.     Based on the training and experience of myself and other agents, I know that T-

Mobile can collect cell-site data about the Subject Phone. I also know that wireless providers

such as T-Mobile typically collect and retain cell-site data pertaining to cellular phones to which

they provide service in their normal course of business in order to use this information for

various business-related purposes.

       13.     Based on the training and experience of myself and other agents, I know each

cellular device has one or more unique identifiers embedded inside it. Depending on the cellular

network and the device, the embedded unique identifiers for a cellular device could take several

different forms, including an Electronic Serial Number (“ESN”), a Mobile Electronic Identity

Number (“MEIN”), a Mobile Identification Number (“MIN”), a Subscriber Identity Module

(“SIM”), a Mobile Subscriber Integrated Services Digital Network Number (“MSISDN”), an

International Mobile Subscriber Identifier (“IMSI”), or an International Mobile Equipment

Identity (“IMEI”). Currently, the Subject Phone has IMSI 310260034468188.

       14.     Based on the training and experience of myself and other agents, I know that

wireless providers such as T-Mobile typically collect and retain information about their

subscribers in their normal course of business. This information can include basic personal

information about the subscriber, such as name and address, and the method(s) of payment (such

as credit card account number) provided by the subscriber to pay for wireless telephone service.

I also know that wireless providers such as T-Mobile typically collect and retain information

about their subscribers’ use of the wireless service, such as records about calls or other
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communications sent or received by a particular phone and other transactional records, in their

normal course of business. In my training and experience, this information may constitute

evidence of the crimes under investigation because the information can be used to identify the

Subject Phone’s user or users and may assist in the identification of co-conspirators and/or

victims.

                                AUTHORIZATION REQUEST

       15.     Based on the foregoing, I request that the Court issue the proposed search

warrant, pursuant to 18 U.S.C. § 2703(c) and Federal Rule of Criminal Procedure 41.

       16.     I further request that the Court direct T-Mobile to disclose to the government any

information described in Section I of Attachment B that is within its possession, custody, or

control. Because the warrant will be served on T-Mobile, which will then compile the requested

records at a time convenient to it, reasonable cause exists to permit the execution of the

requested warrant at any time in the day or night.




                                                     Respectfully submitted,

                                                     /s/ Richard Antonini
                                                     Richard Antonini
                                                     Task Force Officer, ATF



       Subscribed and sworn to before me on May 9, 2022.



       _________________________________________
       THE HONORABLE LYNNE A. SITARSKI
       UNITED STATES MAGISTRATE JUDGE
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                                      ATTACHMENT A


                                   Property to Be Searched


       This warrant applies to records and information associated with the cellular telephone

assigned call number (732) 484-7567, with International Mobile Subscriber Identity

310260034468188 (“the Account”), that are stored at premises controlled by, and/or in the

custody or control of, T-Mobile, a wireless telephone service provider headquartered at 4 Sylvan

Way, Parsippany, New Jersey.
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                                   ATTACHMENT B


                             Particular Things to be Seized


I. Information to be Disclosed by the Provider

   To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any information that has been deleted but is

still available to the Provider or that has been preserved pursuant to a request made under 18

U.S.C. § 2703(f), the Provider is required to disclose to the government the following

information pertaining to the Account listed in Attachment A:

       a. The following information about the customers or subscribers of the Account

           from December 1, 2021, through January 4, 2022:

               i. Names (including subscriber names, user names, and screen names);

               ii. Addresses (including mailing addresses, residential addresses, business
                   addresses, and e-mail addresses);

              iii. Local and long distance telephone connection records;

              iv. Records of session times and durations, and the temporarily assigned
                  network addresses (such as Internet Protocol (“IP”) addresses) associated
                  with those sessions;

               v. Length of service (including start date) and types of service utilized;

              vi. Telephone or instrument numbers (including MAC addresses, Electronic
                  Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),
                  Mobile Equipment Identifier (“MEID”); Mobile Identification Number
                  (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber
                  Integrated Services Digital Network Number (“MSISDN”); International
                  Mobile Subscriber Identity Identifiers (“IMSI”), or International Mobile
                  Equipment Identities (“IMEI”);

             vii. Other subscriber numbers or identities (including the registration Internet
                  Protocol (“IP”) address);
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                 viii. Means and source of payment for such service (including any credit card
                       or bank account number) and billing records;

                  ix. All records and other information (not including the contents of
                      communications) relating to wire and electronic communications sent or
                      received by the Account, including:

                           1. Records of user activity for each connection made to or from the
                              Accounts, including log files; messaging logs; the date, time,
                              length, and method of connections; data transfer volume; user
                              names; and source and destination Internet Protocol addresses;

                           2. Information about each communication sent or received by the
                              Accounts, including the date and time of the communication, the
                              method of communication, and the source and destination of the
                              communication (such as source and destination email addresses, IP
                              addresses, and telephone numbers);

                           3. All data about which “cell towers” (i.e., antenna towers covering
                              specific geographic areas) and “sectors” (i.e., faces of the towers)
                              received a radio signal from each cellular telephone or device
                              assigned to the Accounts, to include all voice, SMS, MMS, and
                              data activity; and

                           4. All records containing round-trip-distance measurements and/or
                              timing advance information for each connection made to or from
                              the Accounts (GSM, CDMA, EVDO, UMTS, LTE, etc.), to
                              include NELOS/LocDBOR, RTT, True Call Measurement Data,
                              PCMD records, and Reveal Reports.


   II. Information to be Seized by the Government

        All information described above in Section I that constitutes evidence of violations of

Title 18, United States Code, Sections 2119 (carjacking), 924(c)(1)(A)(ii) (using, carrying, and

brandishing a firearm during and in relation to a crime of violence), and 2 (aiding and abetting)

involving Juan JOSE RODRIGEUZ during the period December 1, 2021, through January 4,

2022.
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       Law enforcement personnel (who may include, in addition to law enforcement officers

and agents, attorneys for the government, attorney support staff, agency personnel assisting the

government in this investigation, and outside technical experts under government control) are

authorized to review the records produced by the Provider in order to locate the things

particularly described in this warrant.
